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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



 MALIBU MEDIA, LLC,
                                                      Civil Action No. 3:17-cv-00250-SRU
                        Plaintiff,

 v.

 JOHN DOE, subscriber assigned IP address
 32.215.136.91,

                        Defendant.


                         PLAINTIFF’S NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE, Plaintiff, Malibu Media, LLC, has settled this matter with

Defendant, John Doe subscriber assigned IP address 32.215.136.91 (“Defendant”) through his

counsel, Jeffrey Antonelli. Upon satisfaction of the terms of the parties’ settlement agreement, to

which Defendant still has executor obligations, Plaintiff will dismiss Defendant from this action

with prejudice.

       Dated: January 12, 2018                       Respectfully Submitted,

                                             By:     /s/ Kevin T. Conway
                                                     Kevin T. Conway, Esq. (30364)
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                                                     Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on January 12, 2018 I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and
interested parties through this system.



                                                     By: /s/ Kevin T. Conway, Esq.
                                                     Kevin T. Conway, Esq.
